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                                                         December 7, 2023


  Via ECF

  Hon. James M. Wicks, U.S.M.J.
  United States District Court
  Eastern District of New York
  100 Federal Plaza, Courtroom 1020
  Central Islip, NY 11722-4438

         Re:     Superb Motors Inc. et. al. v. Deo, et. al., Case No. 2:23-cv-6188 (JMW)

  Dear Magistrate Judge Wicks:

          This firm represents the “Island Auto Plaintiffs”, being all Plaintiffs in the above
  referenced matter other than the “Superb Plaintiffs” (being Superb Motors Inc., Team Auto
  Sales LLC, and Robert Anthony Urrutia). We write this letter jointly on behalf of all
  parties, except for Harry Thomasson, Esq. and his former clients (collectively the “Deo
  Defendants”), seeking clarification concerning the stay of the action as per the Court’s
  Order dated December 1, 2023 (Dkt. 117) (the “Stay Order”) as it may apply to other
  pending matters in this case.

          Prior to the issuance of the Stay Order, the Court had approved a briefing schedule
  for defendant Flushing Bank’s motion to dismiss (the “Flushing Bank Motion”) and
  defendants’ Thomas Jones and Jones, Little & Co., CPA LLP’s motion to dismiss (the
  “Jones Motion”). The briefing schedule for the Flushing Bank Motion provides for the
  motion, opposition and reply to be served on November 13, 2023 (already served),
  December 11, 2023 and January 5, 2004, respectively. The briefing schedule for the Jones
  Motion provides for the motion, opposition and reply to be served on December 13, 2023,
  January 15, 2024 and January 29, 2004, respectively.

         Further, defendant Libertas Funding LLC’s time to respond to the Amended
  Complaint expires on December 18, 2023, and it intends to file a request for a pre-motion
  conference.

           Being that this case has been stayed until January 2, 2024, the parties joining in this
  letter respectfully request guidance as to whether the Court prefers for (i) these parties to
  comply with the current deadlines, with the opportunity for the Deo Defendants to take a
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  position, should they so choose, after January 2, 2024, (ii) these parties to agree upon
  alternate dates for filing motions and responses to the motions after January 2, 2024 (i.e.,
  the Flushing Bank Motion and the Jones Motion), and the filing of a request for a pre-
  motion conference by Libertas, or (iii) whether the Court will address all new dates and
  deadlines at the January 9, 2024 conference.

         We thank the Court for its consideration in this regard.

                                                Respectfully yours,

                                                /s/ Jeffrey C. Ruderman
                                                Jeffrey C. Ruderman
  cc:   All counsel via ECF




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